JS

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filin
provided by local rules of court. This form, approved by the Judicial Conference of the

Case 1:20-cv-02853-RMB-KMW Document1 Filed 03/16/20 Page 1 of 13 PagelD: 1
CIVIL COVER SHEET

44 (Rev. 06/17)

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

r ling and service of pleadings or other papers as required by law, except as
nited States in September 1974, is required for the use of the Clerk of Court for the

hiSgualenia Bedndrek-Hubbard

45 Greenwich Drive
Galloway, NJ 08205

(b) County of Residence of First Listed Plaintiff

Atlantic

(EXCEPT IN U.S. PLAINTIFF CASES)

(c

ore

Attorneys (Firm Name, Address, and Yetephone Number)
Graham F. Baird, Law Office of Eric A. Sh

2 Penn Center, 1500 JFK Blvd, Suite 1240, Philadelphia, PA 19102
Tel: 267-546-0131

NOTE:

Attorneys (if Known)

Ho Ae Riantic City

777 Harrah's Boulevard
Atlantic City, NJ 08401

County of Residence of First Listed Defendant

Atlantic

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

II. BASIS OF JURIS DICTION (Place an “X" in One Box Only)

o

o

L U.S. Government
Plaintiff

2 U.S. Government
Defendant

3 Federal Question

(U.S. Gavernment Not a Party)

O 4 Diversity

(Indicate Citizenship of Parties in Item I)

(For Diversity Cases Only)

II. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box for Plaintiff

and One Box for Defendant)

PTF DEF PTF DEF
Citizen of This State O 1 © 1 Incorporated or Principal Place ao4 04
of Business In This State
Citizen of Another State O 2 © 2 Incorporated and Principal Place O35 a5
of Business In Another State
Citizen or Subject of a O03 O 3 Foreign Nation oO6 a6

Foreign Country

IV. NATURE OF SUIT (Piece an “x” in One Box Only)

Click here for: Nature of Suit Code Descriptions,

L_ CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
OG 110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure O 422 Appeal 28 USC 158 0 375 False Claims Act
GO 120 Marine © 310 Airplane O 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal O 376 Qui Tam (31 USC
O 130 Miller Act © 315 Airplane Product Product Liability 6 690 Other 28 USC 157 3729(a))
& 140 Negotiable Instrument Liability 0 367 Health Care/ © 400 State Reapportionment
O 150 Recovery of Overpayment | 0 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS O 410 Antitrust
& Enforcement of Judgment Slander Personal Injury O 820 Copyrights 6 430 Banks and Banking
O15] Medicare Act © 330 Federal Employers’ Product Liability O 830 Patent O 450 Commerce
O 152 Recovery of Defaulted Liability © 368 Asbestos Personal O 835 Patent - Abbreviated © 460 Deportation
Student Loans OG 340 Marine Injury Product New Drug Application {© 470 Racketeer Influenced and
(Excludes Veterans) (1 345 Marine Product Liability 1 840 Trademark Corrupt Organizations
C153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR SOCIAL SECURITY O 480 Consumer Credit
of Veteran’s Benefits © 350 Motor Vehicle O 370 Other Fraud © 710 Fair Labor Standards O 861 HIA (1395f6) CG 490 Cable/Sat TV
C160 Stockholders’ Suits O 355 Motor Vehicle © 371 Truth in Lending Act & 862 Black Lung (923) OC 850 Securities/Commodities/
O 190 Other Contract Product Liability O 380 Other Personal © 720 Labor/Management O 863 DIWC/DIWW (405(g)) Exchange
O 195 Contract Product Liability | 360 Other Personal Property Damage Relations 6 864 SSID Title XVI O 890 Other Statutory Actions
o

196 Franchise

Injury
© 362 Personal Injury -
Medical Malpractice

O 385 Property Damage
Product Liability

| REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS
O 210 Land Condemnation © 440 Other Civil Rights Habeas Corpus:

OF) 220 Foreclosure 0 441 Voting O 463 Alien Detainee

O 230 Rent Lease & Ejectment O 442 Employment © 510 Motions to Vacate
O 240 Torts to Land © 443 Housing/ Sentence

O 245 Tort Product Liability Accommodations O 530 General

O 290 All Other Real Property (& 445 Amer. w/Disabilities -| 535 Death Penalty

Employment

O 446 Amer. w/Disabilities -
Other

6 448 Education

O 740 Railway Labor Act

© 751 Family and Medical
Leave Act

O 790 Other Labor Litigation

6 791 Employee Retirement
Income Security Act

O 865 RSI (405(g))

FEDERAL TAX SUITS

IMMIGRATION

Other:
6 540 Mandamus & Other
0 550 Civil Rights
0 555 Prison Condition
0 560 Civil Detainee -
Conditions of
Confinement

O 462 Naturalization Application
0 465 Other Immigration
Actions

O 870 Taxes (U.S. Plaintiff
or Defendant)

0 871 IRS—Third Party
26 USC 7609

6 891 Agricultural Acts

0 893 Environmental Matters

O 895 Freedom of Information
Act

O 896 Arbitration

0 899 Adininistrative Procedure
Act/Review or Appeal of
Agency Decision

6 950 Constitutionality of
State Statutes

V. ORIGIN (Place on “X" in One Box Only)

x

1 Original
Proceeding

O 2 Removed from
State Court

O 3  Remanded from
Appellate Court

o4

Reinstated or
Reopened

O 5 Transferred from
Another District
(specify)

Transfer

O 6 Multidistrict
Litigation -

O 8 Multidistrict
Litigation -
Direct File

VI. CAUSE OF ACTION

Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes untess diversity):

42 U.S.C.A. § 12101 et seq

Brief description of cause:
Americans with Disabilities Act

VII. REQUESTED IN

COMPLAINT:

O CHECK IF THIS IS A CLASS ACTION
UNDER RULE 23, F.R.Cv.P.

DEMAND §
150,000.00

CHECK YES only if demanded in complaint:

JURY DEMAND:

Yes ONo

VIII. RELATED CASE(S)

(See instructions):

IF ANY JUDGE DOCKET NUMBER
DATE SIGNAZURE OF ATTORNEY OF RECORN,
2/16 [a0ao BIN
FOR OFFICE USE ONLY ? .
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

MAGDALENA BEDNAREK-HUBBARD :
45 Greenwich Drive :

Galloway, NJ 08205
JURY DEMANDED

Plaintiff,
V.
No.

HARRAH’S RESORT ATLANTIC CITY
777 Harrah’s Boulevard
Atlantic City, NJ 08401

Defendants

CIVIL ACTION COMPLAINT

I. Parties and Reasons for Jurisdiction.

la Plaintiff, MAGDALENA BEDNAREK-HUBBARD (hereinafter “Plaintiff’) is an
adult individual residing at the above address. Plaintiff is a citizen of New Jersey.

z Defendant, HARRAH’S RESORT ATLANTIC CITY (hereinafter “Defendant”)
is a corporation organized by and operating under the laws of the State of New Jersey and having
a principal place of business at the above captioned address. Defendant is a citizen of New
Jersey.

3. Defendant qualifies as Plaintiff's employer pursuant to the Americans with
Disabilities Act, the Family and Medical Leave Act and the New Jersey Law Against
Discrimination (“LAD”).

4, Plaintiff has exhausted her administrative remedies pursuant to the Equal
Employment Opportunity Act. (See Exhibit A, a true and correct copy of a “right-to-sue” letter

issued by the Equal Employment Opportunity Commission.)
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5. This action is instituted pursuant to the Americans with Disabilities Act of 1990,
the Family and Medical Leave Act and the New J ersey Law Against Discrimination as well as
applicable federal law and state law.

6. Jurisdiction is conferred by 28 U.S.C. §§ 1331 and 1343.

vi Supplemental jurisdiction over the Plaintiff's state law claims is conferred
pursuant to 28 U.S.C. § 1367.

8. Pursuant to 28 U.S.C. § 1391(b)(1) and (b)(2), venue is properly laid in this
district because Defendant conducts business in this district, and because a substantial part of the
acts and/or omissions giving rise to the claims set forth herein occurred in this judicial district.
Plaintiff was working within the State of New Jersey at the time of the illegal actions by
Defendant as set forth herein.

II. Operative Facts.

9, In or around October of 2014, Defendant hired Plaintiff as a Diamond Club
Specialist.

10. In or around October of 2018, Plaintiff began experiencing symptoms of major
depression and panic attacks.

11. Plaintiff provided Defendant with an FMLA application and certification
completed by her physician, Dr. Rita Kammiel.

12. On October 26, 2018, Plaintiff was approved for intermittent F MLA, allowing for
her to miss one (1) day off of work per week as needed; however, she did not require days off
every week.

13. Prior to her request for FMLA, Plaintiff worked forty (40) hours a week, and was

assigned a set schedule that did not usually have any major changes.
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14. Shortly following the approval of her FMLA leave, Plaintiff noticed her
previously-assigned work schedule was changing, namely that she was being scheduled for days
off during the week rather than the schedule she had always worked.

15. Plaintiff asked Defendant’s manager, John McEachern, about the changes.

16. | Mr. McEachern responded that he “needed to change her schedule” to ensure
coverage in case she needed to utilize her intermittent FMLA.

17. Additionally, Plaintiff's hours were cut from forty (40) per week to approximately
twenty-four (24).

18. | However, during this time Plaintiff was still being called to cover shifts for other
employees who had called out (an assistance to other employees that Defendant seemed
unwilling to provide for Plaintiff herself.)

19. During November and December of 2018, Plaintiffs schedule continued to
change and her hours were further reduced to a low of approximately twenty (20) hours per
week.

20. Plaintiff approached Mr. McEachern and asked if she could be scheduled for
more hours, or to return to her previous full-time set schedule because she is a single mother.

gl. Mr. McEachern responded that if Plaintiff “can’t balance work and kids, maybe
this job isn’t for her.”

22. In January of 2019, Plaintiff's schedule was again changed, and she was
scheduled to work on Thursdays, which Defendant knew was the only day that Plaintiff could
not work.

23. Plaintiff told Defendant that she was unable to work on Thursdays, but was told

she should either “call out” or use her intermittent FMLA time.
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24. ‘In February of 2019, Plaintiff was averaging approximately nineteen (19) hours
scheduled per week, while other employees were being scheduled for forty (40) hours per week.

25. Plaintiff asked Defendant’s supervisor, Katherine Contreras, why her hours were
so drastically cut and why she was never offered vacant shifts as the other employees were.

26. Ms. Contreras stated it was due to Plaintiff's intermittent FMLA and Defendant’s
need to ensure that shifts were covered.

27. | On March 8, 2019, Plaintiff was presented with a notice of termination document
stating that Plaintiff was terminated for attendance reasons.

28. In August of 2018, prior to the diagnosis of Plaintiff's disability and the approval
of her intermittent FMLA, Plaintiff had been warned that she was approaching her maximum
allowed “attendance points” in their system.

29. Following that, Plaintiff never received any other warnings regarding her time or
attendance; however, the termination paperwork showed she had been issued points on
November 3, 2018 which was inaccurate and untrue.

30. Plaintiff additionally was issued points for a call out on March 2, 2019, which was
after January 1, 2019 when points are supposed to reset.

31. Plaintiff requested proof she had been issued these additional points warnings;
however, Defendant was unable to produce this documentation.

34. As described above, Defendant began to immediately retaliate against Plaintiff
following her request for intermittent FMLA leave.

35. When Plaintiff asked why her schedule was being so drastically reduced,

Defendant stated that it was, in fact, due to her intermittent FMLA, however other non-disabled
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-

employees were working forty (40) plus hour weeks and were offered extra shifts to cover other
employees’ non-FMLA call outs. ,

36. Atall times material, Defendant was hostile to Plaintiff's disability and need to
have intermittent FMLA and terminated her due to that animus.

37; As a direct and proximate result of Defendant’s conduct in terminating Plaintiff,
Plaintiff sustained great economic loss, future lost earning capacity, lost opportunity, loss of
future wages, as well emotional distress, humiliation, pain and suffering and other damages as
set forth below.

IV. Causes of Action.

COUNT I - TITLE I CLAIM--AMERICANS WITH DISABILITIES ACT
(42 U.S.C.A. § 12101 et seq)

38. Plaintiff incorporates paragraphs 1-37 as if fully set forth at length herein.

39.  Atall times material hereto, and pursuant to the Americans with Disabilities Act
of 1990, 42 U.S.C. §12101, et seq,, an employer may not discriminate against an employee based
on a disability.

40. Plaintiff is a qualified employee and person within the definition of Americans
with Disabilities Act of 1990, 42 U.S.C. §12101, et seq,.

41. Defendants are “employers” and thereby subject to the strictures of the Americans
with Disabilities Act of 1990, 42 U.S.C. §12101, et seq,.

42.  Atall times material hereto, Plaintiff had a qualified disability, as described
above.

43. Defendants’ conduct in terminating Plaintiff is an adverse action, was taken as a
result of her disability and constitutes a violation of the Americans with Disabilities Act of 1990,

42 U.S.C. §12101, et seq,.
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44. As a proximate result of Defendants’ conduct, Plaintiff sustained significant
damages, including but not limited to: great economic loss, future lost earning capacity, lost
opportunity, loss of future wages, loss of front pay, loss of back pay, as well as emotional
distress, mental anguish, humiliation, pain and suffering, consequential damages and Plaintiff
has also sustained work loss, loss of opportunity, and a permanent diminution of her earning
power and capacity and a claim is made therefore.

45. As aresult of the conduct of Defendants’ owners/management, Plaintiff hereby
demands punitive damages.

46. Pursuant to the Americans with Disabilities Act of 1990, 42 U.S.C. §12101, et seq
Plaintiff demands attorneys fees and court costs.

COUNT Il- NEW JERSEY LAW AGAINST DISCRIMINATION
N.J.S.A. 10:5-1, et seq.

47. Plaintiff incorporates paragraphs 1-46 as if fully set forth at length herein.

48. As set forth above, Plaintiff's disability was a motivating factor in the
Defendants’ decision to terminate Plaintiff's employment.

49. As such, Defendants have violated the New Jersey Law Against Discrimination,
N.J.S.A. 10:5-1, et seq.

50. Asa proximate result of Defendants’ conduct, Plaintiff sustained significant
damages, including but not limited to: great economic loss, future lost earning capacity, lost
opportunity, loss of future wages, loss of front pay, loss of back pay, as well as emotional
distress, mental anguish, humiliation, pain and suffering, consequential damages and Plaintiff
also sustained work loss, loss of opportunity, and a permanent diminution of earning power and

capacity and a claim is made therefore.
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51.  Asaresult of the conduct of Defendants’ owners/management, Plaintiff hereby
demands punitive damages.
52. Plaintiffs demands attorneys fees and court costs.

COUNT III - VIOLATION OF FMLA—RETALIATION
(29 U.S.C. §2601 et seq.)

53. Plaintiff incorporates paragraphs 1-52 as if fully set forth at length herein.

54, As set forth above, Plaintiff was entitled to medical leave pursuant to the FMLA,
29 U.S.C. §2601, et seq.

55. As described above, Defendants terminated Plaintiffs employment, an adverse
action, in retaliation for her exercising her rights to take FMLA leave.

56. Defendants’ motivation in terminating Plaintiff's employment was based, in part,
upon her application and utilization of FMLA leave.

57. As a proximate result of Defendants’ conduct, Plaintiff sustained significant
damages, including but not limited to: great economic loss, future lost earning capacity, lost
opportunity, loss of future wages, loss of front pay, loss of back pay, as well as emotional
distress, mental anguish, humiliation, pain and suffering, consequential damages and Plaintiff
has also sustained work loss, loss of opportunity, and a permanent diminution of her earning
power and capacity and a claim is made therefore.

58. As a result of the conduct of Defendants’ owners/management, Plaintiff hereby
demands punitive and/or liquidated damages.

59. Pursuant to the Family and Medical Leave Act of 1993, 29 U.S.C. §2601, et seq

Plaintiff demands attorneys fees and court costs.
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V. Relief Requested.

WHEREFORE, Plaintiff MAGDALENA BEDNAREK-HUBBARD demands judgment
in her favor and against Defendant, HARRAH’S RESORT ATLANTIC CITY jointly and
severally, in an amount in excess of $150,000.00 together with:

A. Compensatory damages, including but not limited to: back pay, front pay, past lost
wages, future lost wages. Lost pay increases, lost pay incentives, lost opportunity, lost
benefits, lost future earning capacity, injury to reputation, mental and emotional
distress, pain and suffering

B. Punitive damages;

C. Attorneys fees and costs of suit;

D. Interest, delay damages; and,

E. Any other further relief this Court deems just proper and equitable.

LAW OFFICES OF ERIC A. SHORE, P.C.

GRAHAM F. BAIRD, ESQUIRE
Two Penn Center
1500 JFK Boulevard, Suite 1240
Philadelphia, PA 19102
Attorney for Plaintiff, Magdalena Bednarek-Hubbard

Date: 3 (G/aoao
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EXH. A
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EEOC Form 161 (11/16) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

DISMISSAL AND NOTICE OF RIGHTS

To: Magdalena Bednarek-Hubbard From: Philadelphia District Office
45 Greenwich Drive 801 Market Street
Galloway, NJ 08205 Suite 1300

Philadelphia, PA 19107

[] On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No, EEOC Representative Telephone No.
Legal Unit,
530-2019-04237 Legal Technician (267) 589-9700

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.

Your charge was not timely filed with EEOC: in other words, you waited too long after the date(s) of the alleged
discrimination to file your charge
The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the

information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

[| The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

[] other (brietty state)

- NOTICE OF SUIT RIGHTS -

(See the additional information attached fo this form.)

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the

alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

On behalf of the Commission

12/26/19
Enclosures(s) Jamie R. Williamson, (Date Mailed)
District Director

GG: Richard Tartaglio, Esq. Graham F. Baird, Esq.

Senior Corporate Counsel LAW OFFICE OF ERIC SHORE

CAESARS ENTERTAINMENT LEGAL DEPARTMENT 2 Penn Center

Bally's Atlantic City 1500 JFK Blivd., Suite 1240

Park Place And The Boardwalk Philadelphia, PA 19102

Atlantic City, NJ 08401
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Enclosure wilh EEOC
Form 161 (11/16)

INFORMATION RELATED TO FILING SUIT
UNDER THE LAWs ENFORCED BY THE EEOC

(This information relates to filing suit in Federal or State court under Federal law.
/f you also plan to sue claiming violations of State law, please be aware that time limits and other
provisions of State law may be shorter or more limited than those described below.)

Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA),
the Genetic Information Nondiscrimination Act (GINA), or the Age
Discrimination in Employment Act (ADEA):

PRIVATE SUIT RIGHTS --

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. {f you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court. If so, you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. If you have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal strategy decisions for you.

PRIVATE SUIT RIGHTS -- Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years {3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 — not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION -- Title VII, the ADA or GINA:

lf you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requirés (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE -- Al Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be

made within the next 90 days.)

IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
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NOTICE OF RIGHTS UNDER THE ADA AMENDMENTS ACT OF 2008 (ADAAA): The ADA was
amended, effective January 1, 2009, to broaden the definitions of disability to make it easier for individuals to
be covered under the ADA/ADAAA. A disability is still defined as (1) a physical or mental impairment that
substantially limits one or more major life activities (actual disability); (2) a record of a substantially limiting
impairment; or (3) being regarded as having a disability. However, these terms are redefined, and it is easier to
be covered under the new law.

If you plan to retain an attorney to assist you with vour ADA claim, we recommend that you share this
information with vour attorney and suggest that he or she consult the amended regulations and
appendix, and other ADA related publications, available at
htto://www.eeoc.gov/laws/tvpes/disability. reculations.cfm.

“Actual” disability or a “record of” a disability (note: if you are pursuing a failure to accommodate claim
you must meet the standards for either “actual” or “record of” a disability):

>» The limitations from the impairment no longer have to be severe or significant for the impairment to
be considered substantially limiting.

> In addition to activities such as performing manual tasks, walking, seeing, hearing, speaking, breathing,
learning, thinking, concentrating, reading, bending, and communicating (more examples at 29 C.F.R. §
1630.2(i)), “major life activities” now include the operation of major bodily functions, such as:
functions of the immune system, special sense organs and skin; normal cell growth; and digestive,
genitourinary, bowel, bladder, neurological, brain, respiratory, circulatory, cardiovascular, endocrine,
hemic, lymphatic, musculoskeletal, and reproductive functions; or the operation of an individual organ
within a body system.

» Only one major life activity need be substantially limited.

> With the exception of ordinary eyeglasses or contact lenses, the beneficial effects of “mitigating
measures” (e.g., hearing aid, prosthesis, medication, therapy, behavioral modifications) are not
considered in determining if the impairment substantially limits a major life activity.

> An impairment that is “episodic” (e.g., epilepsy, depression, multiple sclerosis) or “in remission” (e.g.,
cancer) is a disability if it would be substantially limiting when active.

> An impairment may be substantially limiting even though it lasts or is expected to last fewer than six
months.

“Regarded as” coverage:

> An individual can meet the definition of disability if an employment action was taken because of an
actual or perceived impairment (e.g., refusal to hire, demotion, placement on involuntary leave,
termination, exclusion for failure to meet a qualification standard, harassment, or denial of any other term,
condition, or privilege of employment).

> “Regarded as” coverage under the ADAAA no longer requires that an impairment be substantially
limiting, or that the employer perceives the impairment to be substantially limiting.

> The employer has a defense against a “regarded as” claim only when the impairment at issue is objectively
BOTH transitory (lasting or expected to last six months or less) AND minor.

> A person is not able to bring a failure to accommodate claim if the individual is covered only under the
“regarded as” definition of “disability.”

Note: Although the amended ADA states that the definition of disability “shall be construed broadly” and
“should not demand extensive analysis,” some courts require specificity in the complaint explaining how an
impairment substantially limits a major life activity or what facts indicate the challenged employment action
was because of the impairment. Beyond the initial pleading stage, some courts will require specific evidence
to establish disability. For more information, consult the amended regulations and appendix, as well as
explanatory publications, available at http://www.ceoc.sov/laws/types/disability regulations.clin.

